Case 2:20-cv-12880-JMV-JSA Document 112-3 Filed 01/06/22 Page 1 of 6 PagelD: 2821

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

DANIEL D’AMBLY, AARON WOLKIND, STEVE
HARTLEY, RICHARD SCHWETZ, JOBEL BARBOSA,
MATTHEW REIDINGER, JOHN HUGO, SEAN- CIVIL ACTION
MICHAEL DAVID SCOTT, THOMAS LOUDEN, NO.: 2:20-cv-
ZACHARY REHL, AMANDA REHL, K.R., a minor, by | 12880-

and through her father ZACHARY REHL, and her mother | JMV-JAD
AMANDA REHL, MARK ANTHONY TUCCI,

Plaintiffs,

 

Hon. John M.

Vazquez, U.S.D.J.

VS.
Oral Argument

CHRISTIAN EXOO a/k/a ANTIFASH GORDON, ST. _| Requested
LAWRENCE UNIVERSITY, TRIBUNE PUBLISHING
COMPANY, NEW YORK DAILY NEWS, VIJAYA
GADDE, TWITTER, INC., COHEN, WEISS AND
SIMON, LLP, NICK STRICKLAND, TORCH ANTIFA
NETWORK, UNNAMED ASSOCIATES 1-100,

Defendants.

Motion Date:
February 22, 2022

 

 

 

SUPPLEMENTAL DECLARATION OF CHRISTOPHER
MARLBOROUGH

CHRISTOPHER MARLBOROUGH, an attorney admitted to practice in the
State of New Jersey and the United States District Court for the District of New
Jersey, hereby affirms under penalty of perjury that:

1. I am the Principal Attorney of the Marlborough Law Firm, P.C. I
represent Defendant Christian Exoo in the above-referenced action.

2. I have personal knowledge of the matters stated herein and, if

called upon I could and would competently testify thereto.
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3. On December 15, 2021, I served Plaintiffs’ counsel Patrick
Trainor, Esq. via e-mail and regular first class mail with the following
documents filed herewith:

a. Rule 11 Safe Harbor Letter dated December 15, 2021;

b. Defendant Exxoo’s Notice of Motion and Motion for
Sanctions;

c. Memorandum of Law in Support of Defendant Exoo’s
Motion for Sanctions;

d. [Proposed] Order for Sanctions;

e. Declaration of Christopher Marlborough, dated December
15, 2021 with Exhibits A-D.

4, Because I did not initially receive a response to the letter from
Mr. Trainor, I called Mr. Trainor on January 3, 2022 and spoke with him. I
asked if he would consent to withdrawal of the new claims and new parties
added to the Second Amended Complaint as set forth in the motion papers.

5. Mr. Trainor indicated that he would let Defendant Exoo’s
counsel know if he would agree to withdraw by the morning of January 4,
2022. Mr. Trainor did not respond on January 4".

6. On January 5", counsel for Defendant Exoo contacted Mr.
Trainor by e-mail and Mr. Trainor responded later that day. A true and
correct copy of the e-mail correspondence is annexed hereto as Exhibit A.

Executed this 6" day of January 2022, at Lynbrook, New York.
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Christopher Marlborough

 
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EXHIBIT A
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Christopher Marlborough

From: Patrick Trainor, Esq. <pt@PTESQ.COM>
Sent: Wednesday, January 5, 2022 6:44 AM
To: R; Christopher Marlborough

Subject: Re: D'Ambly v. Exoo Sanctions

Good morning. | will not drop either. Exoo violated the LMRDA by interfering with and depriving D'Ambly his
rights as a union member, but you know that.

I know the names of the elected Teamsters that Exoo worked with and will name them to prove LMRDA
violations. By the way | also have recordings of affinity groups and know real identities of participants, who will
be exposed in time with explicit attribution to Exoo. Turnabout is fair play.

As far as new defendants they were previously named as associates and the court obviously wanted names
and now I gave the court names, and will give more | know them all.

Please send me a copy of the cease and desist letter you sent to Torch and others.

Sincerely,

Patrick Trainor, Esq.

The Law Office of Patrick Trainor, Esq., LLC

19 Union Avenue, Suite 201 | Rutherford, New Jersey 07070
Phone (201) 777-3327 | eFacsimile (201) 896-7815

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From: R <richardtorresdna@gmail.com>

Sent: Wednesday, January 5, 2022 6:27:47 AM

To: Patrick Trainor, Esq. <pt@PTESQ.COM>; Christopher Marlborough <chris@marlboroughlawfirm.com>
Subject: D'Ambly v. Exoo Sanctions

Dear Mr. Trainor,

Good morning and | hope you are well. | am writing in regard to D'Ambly v. Exoo.

As per our telephone conversation on Monday, January 3, 2022, you indicated that it was possible that the LMRDA
claim, Count Vil, may have mistakenly named Mr. Exoo in the Second Amended Complaint. You told Mr. Marlborough
and me that you would get back to us first thing on Tuesday morning, January 4, 2022, about whether you would be
withdrawing that count as to Mr. Exoo. Neither of us heard from you.

We also intend to seek sanctions for adding parties, Strickland and Torch Antifa, without authorization from the court.
You told Mr. Marlborough and me that you had no intention of dropping those defendants.
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The twenty-one-day grace period to allow you to fix your pleadings is about to end. We intend to file the motion for
sanctions pursuant to Rule 11 on January 6, 2022. Please let us know whether you intend to withdraw Count VII and
whether you still intend to name the additional defendants by the end of business today, January 5, 2022. We will
interpret a non-response to mean that you do not intend to drop either County Vil or the new defendants.

Best regards,
/s/ Richard Torres

Counsel for Christian Exoo
